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     B7 (Ofhcid Form 7) (04/13)


                                     Untied States Bankruptcy Court
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                                                             District of Arizona                                     O
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     In re, Charles Hubbard
                           Debtor
                                                                                 Case No. 213-bk-16593
                                                                                                  (ifknown)
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                                                                                                                                                 a
                                          STATEMENT OF FINANCIAL AFFAIRS                                                                         Cj
                                                                                                                           Zd                    E"
                                                                                                                            ;>
                Thisstmmemis(k~xmp~byev¶&buK. Spousesfilingajointpetitionmayfikmingkmummlt®which
     the information for both spouses is combined. Ifthe case is filed undeTcha= 12 or chaptET !3, a married ddytDT must fiimish
     infonnation for both spouses whether or nm ajoint petition is nia unlessthe Spouses are separated and ajoint petition is not
     filed An individual debtDr engAged in business as a sole proprietDr, partner, EMnily fdmm, or ggdf<mpk)y«|~essional,
     ±ouldprovi& the i-S. ..At. ..,jt onthis sMEmem J.,.,...,. .J,, all such activities as well as the individual's pemml
     Dir& Toindicatepayn=nmsfmnumheliketDmiIK)rdlikh~muhechikrsinitialsandthena1neandad~ofthe
     ~s«~8"&B.,a~W+m"emg&w's. See, llU.S.C.
     §112 and Fed R. Bankr. P. l007(in).

              QuMions l- 18 are tD be compk=d IN all debtors. Debtors that are or have been in b as defined below, also
     must cxmpletEQUes~ 19 -25. Kthe. .,.[ .L .. an applicable question is "None," markthe box labeled "Non«" If
     additionalSpaceis=dcdfDrtheanswcrtDaInrquestionjseandattachaseparatm&etprDpertyidemifiawml&casenme,
     casemmbalifknowm~the1[mRbeTdtheqmm


                                                                      DEFnvmoNs
         "      "In busims." A debtDr is "in business" for the purpose of this form ifthe debtor is a corporation or jjhL p.l'j J ",|.'. An
     irdividual(kbtoris"in" fM1hepurpc)seofthisfMmifthedebtDrismmx~withinSxye8rsimmedi&ly~mg
     the filing of this 'h"" "";;'""y m any ofthc followi% an omceT, diMor, '"q'"h 'jr" 'iy cxecutivq orown« of 5 pcrumt or mom
     afthe vcNng mqµity s=dticsaalu. ., . Nij"k .* apamer.(.,.l .. Jd:,h,a limNxl4, ofa ' ( I " . a sok,.,.i,,,i, 4bl.          . , or
     self-employed Ml-time orpan-time. An individual debtDrajso niay be"M businm" for thep ofthis form ifthe de#r
     engages in atrade, businm or other activity, otha1han as an employee, to supplemmt income fi'oin the debtor's primary
     employmenL

               "Insub:" Thetmn "insider" hdudes butislKyt timitied to: relativo ofthe dCbtoc gmenlpmners of the detRor and
     theirmlativeg corporations of whichthe ddmr is an omceT, dirmor, or pason in control omm dirmors, and an?' pason' in
     oUfluUl daajqxme.: ;. lH .,.1. ¢.';. W . ,J,:ik: ~% dNliaNeso€tbe deb6oraM hsidas o4N»ch amli= and an: ' ':, _ a©ent of
     the dCbtor. II U.S.C. § 101(2). (31).



               l.   hH»me~           .,   .   .. 'Oraal,|j ,,::1,¶ ,dbsmess


     n~        State the gross alnount of income the debtor has received fiom employment trade, orpn)f=im orfi'om operation of
     A         the debtds businW including pan-time activities eith« as an employee or in indepaldmttMc or businm Hom the
               begim~)fthiscalemaryeartDtbedatjuhiscasewascDmm Statealsotbegnossamounts~vedduringthe
               two yars "       -d I"' J? ,|.4 "~J:.-43 this cdmdar year. (A debtcT that '"¶ '""r'"r. qt has 0" ·" -·1 financial mxwds on
               the basis of 8 fiscal ratherthan a calendaryear may reportfiscal year inoome. Idaltify the beghning and ending dates
               d:tbHkhMs~year.) Ifajoim)ditionisfikmmuKxmefM=chsNse3,,chq¢,3klj. QdmTkddebwsnlmg
               undo dlapteT 12 orchaptET 13 must state income of both spouses whethcr arnot a jointp&on is file4 unless the
                are sepamed and a joint petition is not filed.)

               AMOUNT                                                         SOURCE

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 3;"Case
      ')3""7)5:  00                                    Re:1/k kblusAU7· elyE"e l·j l//hl - 12/>0/( 2
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                                                                                                                                          )
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                2.     Income other than Rom employment or operation of business

      None      State the amount of income ivd W the dCbtor other than fkom employment uade, profession, operation ofthe
         I     debtds business during the two yaw immediatdy preeeding the commencement of this . Give particulars. If a
               joint petition is filed statE income for ~ sqkumely. (Marrkd debtors filing under chapter 12 or chapter 13
                must sta: income for each spouse whdher or not a joint pdition is fil4 un]* the spouses are separated and a joint
                petitiort is not filed)

                AMOUNT                                                 SOURCE
               $1,600.00                  a Rooms being rented out.




                3.     Payments tD creditDrs

                CompLae ll or li, as appmpnau; and g
      None
      lZl       a. Individual orjoint &btor(s) wUhµimarily consumer dbbts: List all payments on loansj, installment purchases of
                goods or servim and other debts to ally cTedito made within 90 days immediately ~ing the commencement of
                this case unless the aggregate value of all pnoperty that constiMes or is afT~ W such tmnsfer is less than S600.
                Indicate with an asUsk (*) any payments that were made to a cmditor on account of a domestic support obligation or
                as pan of an alternative repaymmtschedule unch apkn by an approved nonprofit budgeting and credit counseling
                agency. (MMrid debtors filing undeT chapter 12 or chapter 13 must include paymaits by either or both spouses
                whether ornot a joirrt petition is fil4 unless H spouses = separau3d and ajoMtpetition is not filed.)

                NAME AND ADDRESS OF CREDITOR                           DATES OF                 AMOUNT              AMOUNT
                                                                       PAYMENTS                 PAID                STILL OWING




     J,.NO¶
                b. Debtw whase debb are notprimarily consumer &bts: List each pqyment or other transfr to aty creditor madb
                within 90 days immediately pmx:ding the cQmmalcemmt of the case unles the aggregate value of all property that
                constitutes or is *ectEd by such transfer is less than $6,225". Ifthe debtor is an individuaL indicate with an asterisk
                (*) any payments that were made to a creditor on account of a domestic wpport obligAtion or as part of an alWnative
                repayment schedule under aplan by an approved nouprDfit budgeting and cMit counseling agmq. (Married debtors
                filing under chapter 12 or chapm 13 must include pamems and other tmnsfas by eitber or both spouses whether or
                not ajoimpetition is filed, unlessthe spouses ate sepmted and ajoim pdition is not fikcL)

                NAME AND ADDRESS OF CREDITOR                           DATES OF                 AMOUNT              AMOUNT
                                                                       PAYMENTS/                PAID OR             STILL
                                                                       TRANSFERS                VALUE OF            OWING
                                                                                                TRANSFERS




                *

                    Amount subject to aCguslment on W01/l6, and every three years t/iere®er with respect to cases commenced on or
      ajter the diUe of acgustmem.


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